           Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 1 of 8

OAO 245B       (Rev. 09/08) Judgment in a Criminal Case
               Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                                 District of                              COLORADO
         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                               V.

           THOMAS A. SCHRAH, JR.
                                                                         Case Number:                     12-cr-00010-MSK-14
                                                                         USM Number:                      38221-013

                                                                         Douglas L. Romero and Timothy D. Edstrom, Retained
                                                                         Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to Count             Eight of the Second Superseding Indictment
    pleaded nolo contendere to Count(s)
    which was accepted by the Court.
    was found guilty on Count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                      Offense Ended            Count
18 U.S.C. § 4                       Misprison of Felony                                                       09/01/10              Eight



       The defendant is sentenced as provided in pages 2 through            8       of this judgment in accordance with the findings and
 conclusions made in open court, a transcript of which is attached hereto and incorporated herein by this reference. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on Count(s)
    Count(s)                                                is       are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         November 30, 2012
                                                                         Date of Imposition of Judgment


                                                                         s/ Marcia S. Krieger
                                                                         Signature of Judge




                                                                         Marcia S. Krieger, U.S. District Judge
                                                                         Name and Title of Judge


                                                                         December 5, 2012
                                                                         Date
             Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 2 of 8

AO 245B      (Rev. 09/08) Judgment in Criminal Case
             Sheet 2 — Imprisonment

                                                                                                       Judgment — Page    2       of      8
DEFENDANT:                      THOMAS A. SCHRAH, JR.
CASE NUMBER:                    12-cr-00010-MSK-14


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
            Time served.



          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.


          The defendant shall surrender to the United States Marshal for this district:
                at                                     a.m.         p.m.     on                                               .
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 12 p.m. on                                            .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

at                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 3 of 8

AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties

                                                                                                  Judgment — Page     3      of         8
DEFENDANT:                      THOMAS A. SCHRAH, JR.
CASE NUMBER:                    12-cr-00010-MSK-14

                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                          Fine                            Restitution
TOTALS          $ 100.00                                              $ 100.00                        $ 0.00
      The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                 Total Loss*                   Restitution Ordered                     Priority or Percentage




TOTALS                              $                0.00               $               0.00


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the          fine       restitution.

          the interest requirement for the             fine     restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 4 of 8

AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page     4      of       8
DEFENDANT:                   THOMAS A. SCHRAH, JR.
CASE NUMBER:                 12-cr-00010-MSK-14

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         Lump sum payment of $                            due immediately, balance due

                 not later than                                 , or
                 in accordance                C,      D,            E, or        F below; or

B     X Payment to begin immediately (may be combined with                  C,          D, or        F below); or

C         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:




Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



     Joint and Several



     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following Court cost(s):
     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and Court costs.
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 5 of 8

AO 245B (Rev. 09/08) Criminal Judgment
        Attachment (Page 1) — Statement of Reasons
                                                                                                                        Judgment—Page          5      of           8
DEFENDANT:                      THOMAS A. SCHRAH, JR.
CASE NUMBER:                    12-cr-00010-MSK-14
                                                         STATEMENT OF REASONS

I     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A       X   The Court adopts the presentence investigation report without change.

      B           The Court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specify Court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                  (Use page 4 if necessary.)

          1            Chapter Two of the U.S.S.G. Manual determinations by Court (including changes to base offense level, or specific offense characteristics):



          2            Chapter Three of the U.S.S.G. Manual determinations by Court (including changes to victim-related adjustments, role in the offense, obstruction
                       of justice, multiple Counts, or acceptance of responsibility):


          3            Chapter Four of the U.S.S.G. Manual determinations by Court (including changes to criminal history category or scores, career offender, or
                       criminal livelihood determinations):



          4            Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):


      C           The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A       X   No Count of conviction carries a mandatory minimum sentence.

      B           Mandatory minimum sentence imposed.

      C           One or more Counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the Court has determined that the mandatory minimum
                  does not apply based on

                       findings of fact in this case

                       substantial assistance (18 U.S.C. § 3553(e))

                       the statutory safety valve (18 U.S.C. § 3553(f))




III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: 2
      Criminal History Category:    I
      Imprisonment Range:         0       to      6     months
      Supervised Release Term:          1       year
      Fine Range: $ 100              to $ 5,000
           Fine waived or below the guideline range because of inability to pay.
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 6 of 8

AO 245B      (Rev. 09/08) Criminal Judgment
             Attachment (Page 2) — Statement of Reasons
                                                                                                                        Judgment—Page         6      of             8
DEFENDANT:                           THOMAS A. SCHRAH, JR.
CASE NUMBER:                         12-cr-00010-MSK-14

                                                            STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)
      A       X        The sentence is within an advisory guideline range that is not greater than 24 months, and the Court finds no reason to depart.

      B                The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use page 4 if necessary.)


      C                The Court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (Also complete Section V.)

      D                The Court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
      A The sentence imposed departs (Check only one.):
           below the advisory guideline range
           above the advisory guideline range

      B      Departure based on (Check all that apply.):
             1              Plea Agreement (Check all that apply and check reason(s) below.):
                                 5K1.1 plea agreement based on the defendant’s substantial assistance
                                 5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
                                 binding plea agreement for departure accepted by the Court
                                 plea agreement for departure, which the Court finds to be reasonable
                                 plea agreement that states that the government will not oppose a defense departure motion.
             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                                5K1.1 government motion based on the defendant’s substantial assistance
                                5K3.1 government motion based on Early Disposition or “Fast-track” program
                                government motion for departure
                                defense motion for departure to which the government did not object
                                defense motion for departure to which the government objected
             3              Other
                                Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):
      C          Reason(s) for Departure (Check all that apply other than 5K1.1 or 5K3.1.)
     4A1.3        Criminal History Inadequacy                    5K2.1     Death                                         5K2.11 Lesser Harm
     5H1.1        Age                                            5K2.2     Physical Injury                               5K2.12 Coercion and Duress
     5H1.2        Education and Vocational Skills                5K2.3     Extreme Psychological Injury                  5K2.13 Diminished Capacity
     5H1.3        Mental and Emotional Condition                 5K2.4     Abduction or Unlawful Restraint               5K2.14 Public Welfare
     5H1.4        Physical Condition                             5K2.5     Property Damage or Loss                       5K2.16 Voluntary Disclosure of Offense
     5H1.5        Employment Record                              5K2.6     Weapon or Dangerous Weapon                    5K2.17 High-Capacity, Semiautomatic Weapon
     5H1.6        Family Ties and Responsibilities               5K2.7     Disruption of Government Function             5K2.18 Violent Street Gang
     5H1.11       Military Record, Charitable Service,           5K2.8     Extreme Conduct                               5K2.20 Aberrant Behavior
                  Good Works                                     5K2.9     Criminal Purpose                              5K2.21 Dismissed and Uncharged Conduct
     5K2.0        Aggravating or Mitigating Circumstances        5K2.10    Victim’s Conduct                              5K2.22 Age or Health of Sex Offenders
                                                                                                                         5K2.23 Discharged Terms of Imprisonment
                                                                                                                         Other guideline basis (e.g., 2B1.1 commentary)
      D          Explain the facts justifying the departure. (Use page 4 if necessary.)
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 7 of 8

AO 245B    (Rev. 09/08) Criminal Judgment
           Attachment (Page 3) — Statement of Reasons
                                                                                                                         Judgment—Page          7       of             8
DEFENDANT:                     THOMAS A. SCHRAH, JR.
CASE NUMBER:                   12-cr-00010-MSK-14

                                                         STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
             below the advisory guideline range
               above the advisory guideline range

     B     Sentence imposed pursuant to (Check all that apply.):
           1          Plea Agreement (Check all that apply and check reason(s) below.):
                              binding plea agreement for a sentence outside the advisory guideline system accepted by the Court
                              plea agreement for a sentence outside the advisory guideline system, which the Court finds to be reasonable
                              plea agreement that states that the government will not oppose a defense motion to the Court to sentence outside the advisory guideline
                              system

           2          Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                              government motion for a sentence outside of the advisory guideline system
                              defense motion for a sentence outside of the advisory guideline system to which the government did not object
                              defense motion for a sentence outside of the advisory guideline system to which the government objected

           3          Other
                              Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (

     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

               the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)

               to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))

               to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

               to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

               to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
               (18 U.S.C. § 3553(a)(2)(D))
               to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

               to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))


     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
          Case No. 1:12-cr-00010-MSK Document 776 filed 12/05/12 USDC Colorado pg 8 of 8

AO 245B       (Rev. 09/08) Criminal Judgment
              Attachment (Page 4) — Statement of Reasons

                                                                                                                           Judgment—Page           8      of          8
DEFENDANT:                        THOMAS A. SCHRAH, JR.
CASE NUMBER:                      12-cr-00010-MSK-14

                                                          STATEMENT OF REASONS

VII COURT DETERMINATIONS OF RESTITUTION

     A    X Restitution Not Applicable.

     B Total Amount of Restitution:

     C Restitution not ordered (Check only one.):

          1          For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
                     identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

          2          For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
                     issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
                     that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

          3          For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
                     ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                     the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

          4          Restitution is not ordered for other reasons. (Explain.)




     D        Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

      The defendant is sentenced as provided in pages 2 through 8 of this judgment in accordance with the findings and conclusions made
      in open court, a transcript of which is attached hereto and incorporated herein by this reference. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
      Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.
